Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 1 of 18




          EXHIBIT 12
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 2 of 18




         Your
        Watch Next Overview
         January 22, 2016 Product Review




     Confidential & Proprietary                                                                    YOu0




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040865
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 3 of 18




    Agenda

    Mission
    History, team, and 2015 highlights
    Product and architecture walkthrough
            + metrics, challenges, opportunities, lessons learned
    Current projects and roadmap
    How you can help




     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040866
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 4 of 18




    What's the big deal?




                                                 of YT Watch Time
                                                +5.1% last year




     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040873
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 5 of 18




    What's the big deal?
    Exposure for other features (p13n, Mix, paid movies, live events, playlists, ads)

    Perception of YouTube: what kind of videos do we have?

    Brand image for Creators on "their watch page"

    A foot into embeds

    Related graph data for Ads, p1 3n, [egos, researchers, etc.




     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040874
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 6 of 18




    Mission




     Help every user find another compelling video to watch next at scale.




     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040875
                             Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 7 of 18




    Some 2015 highlights
       •      Autoplay launched,       viewtime/visitor on desktop
       •      Stricter next episode promotion,          site-wide viewtime/visitor.
       •      Mobile/tablet data+features incorporated in the WN sibyl, deep retrieval model (multiple launches)
                            mobile viewtime/visitor,         tablet viewtime/visitor,      desktop viewtime/visitor
                 o
       •      UI changes that allow more related items to show by default (if users see them, they will click)
                    Increased mobile/tablet suggestion to 12,            on mobile,       viewtime/visitor on tablet
                 o
                    Removed "Suggestions" title    on mobile,          app-wide viewtime/visitor
                 o
       •      Freshness: caching, cowatch pipeline, intraday sessions (from 65 hours to 32 hours)
       •      Live events in Watch Next panel
       •      Corpus-specific suggestions for Kids, Gaming, Music
       •             coverage of unique video ids by using mobile/tablet logs in the cowatch pipeline
       •      Autoplay using Mix candidates for music
       •      Support MDx autoplay (        MDx watchtime)
       •      Increased infrastructure reliability and scalability by upgrading the experiment framework, indexing,
              topics pipeline, InnerTube support/migration

     Confidential & Proprietary                                                                               YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                           GOOG-SCHNDR-00040882
                             Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 8 of 18




    Watch Next rabbit hole

                                                                  Top entry points

                                                                   •   Click on a link to watch page (from
                                                                       a friend, from a 3P site)
                                                                   •   Homepage — click on a
                                                                       recommendation, channel page, or
                                                                       subscription
                                                                   •   Search (broad or navigational)

                                                                  Watch next is a primary navigation too
                                                                  for users on YouTube



     Confidential & Proprietary   go/sequences                                                        M   Tube,




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                   GOOG-SCHNDR-00040896
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 9 of 18




    User needs(go/ytneeds)
    Information
      • e.g. searched for "how to poach an egg" on YT or Google
      • Explore best, most tightly related videos
      • Continuation of viewer's search process
      • Depth-first, refinement

    Entertainment
     • E.g. enjoy a favorite show or relax/laugh
     • Exploration of broadly related topics or topics of interest to the user
     • Good opportunity to introduce other YT features: channels, live events, etc
     • Variety may be helpful



     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040897
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 10 of 18




    How are we doing? (link)

                       70% Good; 20% OK; 10% Bad
                            Percentage of Watch Next Video Ratings @6 (n = 1500)        date of eval>
                                                                                       <(% of repeat raters)>
                       70
                                                                                         • 7-14-14 (13)
                       60                                                                •7-21-14 (18)
                                                                                             7-28-14 (23)
                       50                                                                    8-04-14 (28)
                  ba
                  ro                                                                         8-14-14 (31)
                       40
                 tv
                 G)    30
                                                                                         • 8-25-14 (35)
                                                                                         •9-15-14 (38)
                 Q-
                                                                                         •   10-13-14 (40)
                       20                                                                    10-26-14 (42)
                                                                                         •
                       10

                        0
                                  good + v. good        ok              bad + v. bad


     Confidential & Proprietary                                                                                 YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                          GOOG-SCHNDR-00040898
                           Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 11 of 18




    What are we good at?(a lot!)

    In general:
      • Videos with a lot of history and co-watch data
      • Videos we understand (good annotations)


    Searching for informational videos: "how to skin a catfish"
    Music, Music autoplay: Adele - Hello
    Popular videos, esp. entertainment: Jimmy Fallon, Adele & The Roots Sing "Hello"
    Vlogs: Stitch Fix Unboxing I July 2015
    Educational series: The Big Bang: Crash Course Big History #1



     Confidential & Proprietary                                                                     f   Tube,




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040900
                           Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 12 of 18




    Advertiser and Creator brand sensitivity

          •     Driver of traffic             YouO                                                                                  4



          •     Brand image: Part of
                "their" watchpage




                                                     Spy: It's What You Do - GEICO
                                                           GEICG Insurance:
                                                                         xr.uz                                                              225.951
                                                     }                                                                                  "   o» 7i .a


                                                     mom i~n~lsannewanlme.
                                                     s~nseneemmaGmcG ma~eHa ge~uwa~am«oarl~alblrmp4rw:wromuee.com>.9uuamlglo2e...




     Confidential & Proprietary                                                                                                                                 M Tube,




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                                                                             GOOG-SCHNDR-00040911
                               Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 13 of 18




    Creators care. A lot. Views == revenue

                WATCH TIME (MINLITES)                 VIEWS

                9,559,981                             6,532,769
                    More —Inns -        Dairy truing 7 ay totals) -   Show totals       Show as % of totals



                           10020/1




                N
                            750.000
                '1

                            500.203




                            250,000




                                   a
                                   4/5/14   4/11114 4117114 4/23!14 4/29/14   5/5114   5111114 5/17/14 5/23/14   5/29114   614/14   6(1(1114 6116/14 6(27114   5128/14    774114       7/10/14 7!16/14 7122114 7.

                                                                                                                                                                              II III      p
                                                          2001              2010                2/11                  202                    2013                  2/In                       2/ ..5




     Confidential & Proprietary                                                                                                                                                                                         YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                                                                                                                                      GOOG-SCHNDR-00040912
                            Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 14 of 18




    Key challenges / open questions
    Diversity
     • Related to the video vs. related to the viewer
     • Facilitate association of YT with a wide variety of content vs. all cat videos
    Sentiment
     • Same topic but different points of view. What is our social responsibility if any?
    Creator story
     • What role should we play in a creator's user acquisition strategy?
    User experience
     • Hard to get right; requires a lot of experimentation to build intuition. Resources!
    User perception
     • Freshness, racy content, major factor in the reinforcement of YT's brand
    Objective functions
     • Watchtime (fundamentals work) vs DAVs/long term effects (not well understood or attributed)

     Confidential & Proprietary                                                                       M   Tube,




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                   GOOG-SCHNDR-00040913
                           Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 15 of 18




    What we've learned




    User perception is formed not from their average experience, it's from their best, worst, last
    experience (peak-end rule), so it's important to do our best for every video
     • E.g., Racy filtering makes a big difference to YouTube brand even if most videos users
         encounter are not racy. (ariane)

    YouTube has a lot of data to leverage
     • E.g., +5% watchtime from applying Sibyl, current model trains on 135B samples



     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040914
                    Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 16 of 18




    What we've learned
                                                                             The Multi Channel          p      Subscribe


                                                                                       Child Guitar Prodigy!




                                                                        rT- fs'.0       d Ran        Fnra Vniinn




                                                                             The Multi Channel                 Suhscrthe



                                                                       Suggestions
                                                                                       Child Guitar Prodigy!




    Low impact / negative
                  Many researchers interested in experimenting with Watch Next, only a few
    successful
     Confidential&Prbi:iding Watch Next (e.g. inline player)                                                               I   Tube,




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                             GOOG-SCHNDR-00040915
                    Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 17 of 18




    Q1 OKR highlights (link)




                                                                                             f   Tube,




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                          GOOG-SCHNDR-00040918
                           Case 3:20-cv-04423-JD Document 302-1 Filed 04/07/23 Page 18 of 18




    Autonav on mobile

    Timeline:
     • Now: user studies
     • Android: experiment end of Jan
     • iOS: experiment beginning of Feb
     • Capture 1 month of data + iterate
     • Launch in Q2

    Expected site-wide impact:       watchtime
     • Desktop experiment was         , with no way to turn it off.
     • Assuming a        opt-out rate (double desktop rate)
     • mobile =



     Confidential & Proprietary                                                                    YOUO




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 GOOG-SCHNDR-00040920
